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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


    GILBERT P. HYATT,                                            Civil Action No. 1:05-cv-2310 (RCL)
                                                                 Civil Action No. 1:09-cv-1864 (RCL)
                            Plaintiff,
            v.

    JOSEPH MATAL,

                            Defendant.


                                                   ORDER

            Upon consideration of the parties’ Joint Motion for Order Authorizing Special Sessions

    and the entire record in this case, this Court finds that:

            1.      The sudden illness of the presiding judge, the Hon. Royce C. Lamberth, in Civil

    Action No. 05-2310 (RCL) and Civil Action No. 09-1864 (RCL) constitutes an emergency

    condition that renders this Court unable to conduct the previously-scheduled bench trials during

    December 2017;

            2.      Judge Lamberth was previously assigned to sit by designation in the Western

    District of Texas from January to May 2018, during which time period he is consequently not

    available in this district to preside over the bench trials, thereby rendering no location within the

    district reasonably available to continue and complete these hearings with the same presiding

    judge; and

            3.      The parties have been notified of these emergency conditions and the

    unavailability of the Judge Lamberth in this district, and have agreed and consented, consistent

    with 28 U.S.C. § 141(b)(1), and in order to conserve judicial and the parties’ resources by

    avoiding re-assignment of the cases, to conduct the remaining bench trial proceedings in these

    two cases before Judge Lamberth in the Western District of Texas during January and

    February 2018.
 
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           WHEREUPON it is hereby:

           ORDERED that, pursuant to 28 U.S.C. § 141, special sessions of the U.S. District

    Court for the District of Columbia may be held in the Western District of Texas during January

    and February, 2018, to complete the bench trial proceedings in Civil Action No. 05-2310

    (RCL) and Civil Action No. 09-1864 (RCL).

          SO ORDERED this 3rd day of January, 2018.




                                                       CHIEF JUDGE BERYL A. HOWELL




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